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5                             UNITED STATES DISTRICT COURT
6                                        DISTRICT OF NEVADA
7                                                  ***
8    UNITED STATES OF AMERICA,                        )      Case No.: 2:12-CR-0004-APG-GWF
                                                      )
9                           Plaintiff,                )
                                                      )      ORDER DENYING DEFENDANT
10            vs.                                     )      QASIR MUKHTAR’S APPEAL FROM
                                                      )      THE FEBRUARY 13, 2013 ORDER
11   QASIR MUKHTAR, et al.,                           )      DENYING PRETRIAL RELEASE
                                                      )
12                          Defendants.               )
                                                      )
13

14

15            Before the Court is Defendant Qasir Mukhtar’s Appeal from the Magistrate Judge’s

16   February 13, 2013 Order Denying Defendant’s Second Motion for Pretrial Release [Dkt. #315].

17   The Government filed a Response in Opposition [Dkt. #328], and Defendant filed a Reply [Dkt.

18   #341].
19

20   I. BACKGROUND
21            Defendant Mukhtar is charged in the multi-count, multi-defendant Indictment with
22   participating in a racketeer influenced, corrupt organization in violation of 18 U.S.C. §1962(c)
23   and §1963; conspiracy to engage in a racketeer influenced corrupt organization in violation of 18
24   U.S.C. § 1962(d); and trafficking in and possessing device-making equipment, and aiding and
25   abetting in violation of 18 U.S.C. § 1020(a)(4), (c)(1)(A)(ii), and (h) and 18 U.S.C. § 2. Mr.
26   Mukhtar self-surrendered and was arrested in New York, where he resides, on March 15, 2012.


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1    He made his initial appearance that same day before Magistrate Judge Steven M. Gold and was
2    temporarily detained. On March 21, 2012, Magistrate Judge Joan M. Azrack held a detention
3    hearing, and Mr. Mukhtar was ordered detained and removed to the District of Nevada.
4            Mr. Mukhtar’s initial appearance in this District and arraignment and plea took place on
5    April 9, 2012. The Government moved for Mr. Mukhtar’s pretrial detention as a substantial risk
6    of nonappearance. Defendant’s counsel did not oppose the Government’s motion based on the
7    fact that Immigration and Custom Enforcement (“ICE”) had lodged a detainer against Mr.
8    Mukhtar on the grounds that he is a citizen of Pakistan who is not legally present in the United
9    States. The Court ordered that Mr. Mukhtar be detained pending trial.
10           Subsequently, Mr. Mukhtar filed two separate motions for pretrial release, which were
11   rejected by the Magistrate Judge and the District Judge. This current appeal arises from the
12   Magistrate Judge’s February 13, 2013 Order [Dkt. #296] denying Mr. Mukhtar’s Second Motion
13   for pretrial release.
14

15   II. DISCUSSION
16           A. 18 U.S.C. § 3142(g) Factors
17           A defendant may move the district court judge to revoke or amend a pretrial detention
18   Order issued by a magistrate judge. 18 U.S.C. § 3145(b). The district judge reviews the
19   magistrate judge’s detention order de novo, without deference to the magistrate judge’s factual
20   findings. United States v. Koenig, 912 F.2d 1190, 1191-92 (9th Cir. 1990). The district judge
21   reviews the evidence presented to the magistrate judge and makes “its own independent
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     determination whether the magistrate [judge’s] findings are correct, with no deference” to either
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     the magistrate judge’s factual findings or ultimate conclusion regarding the propriety of
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     detention. Id. at 1192-93. The district judge may, but need not, hold an evidentiary hearing to
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     make this determination. Id.
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1           Title 18 U.S.C. § 3142(g) requires the Court to consider four factors in determining
2    whether to detain or release a defendant: “(1) the nature and circumstances of the offense
3    charged, including whether the offense is a crime of violence or involves a narcotic drug; (2) the
4    weight of the evidence against the person; (3) the history and characteristics of the person; and
5    (4) the nature and seriousness of the danger to any person or the community should the person be
6    released.” United States v. Chen, 820 F. Supp. 1205, 1207 (N.D. Cal. 1992).
7                   1.      Nature and Circumstances of Offenses Charged
8           Mr. Mukhtar is charged in the multi-count Indictment with, among other things,
9    participating in a racketeer influenced, corrupt organization in violation of 18 U.S.C. §1962(c)
10   and §1963; conspiracy to engage in a racketeer influenced corrupt organization in violation of 18
11   U.S.C. § 1962(d); and trafficking in and possessing unauthorized access and device-making
12   equipment, and aiding and abetting, in violation of 18 U.S.C. § 1020(a)(4), (c)(1)(A)(ii), and (h)
13   and 18 U.S.C. § 2.
14          Mr. Mukhtar faces a potentially lengthy prison sentence if he is convicted on the charges
15   in the Indictment. He then would be subject to deportation after completion of the sentence.
16   Moreover, given that several of the offenses involve the creation and/or use of counterfeit
17   identification and related devices, if proven the risk of nonappearance is greater, as the
18   Defendant may have some ability to falsify transportation documents.
19                  2.      Weight of Evidence Against Defendant
20          This factor “is the least important of the various factors.” United States v. Motamedi, 767
21   F.2d 1403, 1408 (9th Cir. 1985). Thus, “[a]lthough the [bail reform] statute permits the court to
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     consider the nature of the offense and the evidence of guilt, the statute neither requires nor
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     permits a pretrial determination that the person is guilty.” Id. (citations omitted). “[I]f the court
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     impermissibly makes a preliminary determination of guilt, the refusal to grant release could
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     become in substance a matter of punishment.” Id. Accordingly, factor two “may be considered
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1    only in terms of the likelihood that the person will fail to appear or will pose a danger to any
2    person or to the community.” Id. (citing 18 U.S.C. § 3142(g) (remaining citation omitted)).
3               Mr. Mukhtar correctly argues that “there is no basis to detain Mr. Mukhtar based simply
4    upon the ‘weight of the evidence’ against him….” See Appeal at 15:10-12. If that was the only
5    basis for detention, Mr. Mukhtar’s appeal would be granted. But as set forth herein, other
6    reasons justify his continued detention.
7                      3.      History and Characteristics of Defendant
8               Under 18 U.S.C. § 3142(g)(3), courts may consider “the history and characteristics of the
9    person, including his character, physical and mental condition, family ties, employment,
10   financial resources, length of residence in the community, community ties, past conduct, history
11   relating to drug and alcohol abuse, criminal history, [and] record concerning appearance at court
12   proceedings.” Motamedi, 767 F.2d at 1407.
13              Mr. Mukhtar is a citizen of Pakistan and is not lawfully present in the United States. His
14   parents and most of his siblings reside in Pakistan. Mr. Mukhtar’s wife is a naturalized United
15   States citizen, has stable employment and appears to be very supportive of Defendant. He argues
16   that he is eligible for deferment from deportation as a childhood arrival, pursuant to the DREAM
17   Act. However, given his prior conviction for a serious misdemeanor involving a violent crime,
18   and the fact that Protection Orders have been filed against him, such deferment is far from
19   certain.
20              At the time of his detention, Mr. Mukhtar had been unemployed for six months. He had
21   no significant assets and stated that he was $5,000 in debt. He contends that he has recently
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     developed ties to a well-respected member of the Las Vegas community, and has leads on
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     obtaining a job upon release. Such representations, even if true, are not sufficient to justify
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1    pretrial release in the face of substantial risks that Mr. Mukhtar may flee.1 Mr. Mukhtar has
2    significant family connections (parents and siblings) in Pakistan and has wired funds (the
3    amounts are in dispute) there. He is a flight risk.
4                   4.      Nature and Seriousness of Danger to any Person or the Community
                            that would be Posed by Defendant’s Release
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            At the April 9, 2012 detention hearing, the Magistrate Judge determined “that the
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     credible testimony and information submitted at the hearing established by a preponderance of
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     the evidence that the defendant is a risk of flight and no condition or combination of conditions
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     will reasonably assure the appearance of the Defendant.” See April 9, 2012 Detention Order
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     Pending Trial [Dkt. #139]. Despite consideration of additional evidence and arguments
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     presented in subsequent Motions, the Magistrate Judge has not changed his opinion. After
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     conducting a de novo review (including reading the present and prior Motions), I come to the
12
     same conclusion.
13
            Although Mr. Mukhtar de-emphasizes his prior convictions as minor, his criminal history
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     includes arrests for assault, harassment, and menacing, a conviction for a violent offense, entry
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     of temporary protection orders against him, and at least one active Order of Protection entered
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     against him (which is not set to expire until May 31, 2013). Combined with the fact that he is
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     not legally present in the United States, his lack of financial resources and ties to the local
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     community, and his foreign ties, he represents a risk of nonappearance.
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             Finally, there are no conditions or combination of conditions that the Court could fashion
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     that would reasonably assure Mr. Mukhtar’s appearance at future court proceedings. Mr.
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     Mukhtar proposes a $10,000 bail. See Reply [Dkt. #341] at 8:4. He previously offered to have
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     his sister-in-law’s restaurant put up as security for his appearance. See Appeal [Dkt. #315] at 8:8-
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       Mr. Mukhtar also requests release in order to assist his counsel prepare for trial, which
25   allegedly cannot be done from the Pahrump detention facility. At the same time, Mr. Mukhtar
26   states that if he is allowed to post bail, he should be permitted to return to New York. Returning
     to New York would not facilitate his assisting his counsel in trial preparation.

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1    11. On the totality of the circumstances present in this case, the Court finds that such offers of
2    bail – as well as any other conditions or combination of conditions -- are insufficient guarantees
3    to overcome the risk that Mr. Mukhtar will flee.
4

5           B. November 2013 Trial Date
6           Despite his arguments to the contrary, Mr. Mukhtar’s Sixth Amendment rights are not
7    being violated by his continued detention until the November 2013 trial date. However, should
8    the Government seek to further delay the trial beyond the current November 2013 date, Mr.
9    Mukhtar may have a stronger argument at that time. Without prejudging that issue, Mr. Mukhtar
10   is free to raise this issue again should another extension of the trial date be sought.
11          For the foregoing reasons, the Magistrate Judge’s February 13, 2013 Order [Dkt. #296] is
12   affirmed, and Mr. Mukhtar is to remain in pretrial detention.
13

14   III. CONCLUSION
15          IT IS THEREFORE ORDERED that Defendant Qasir Mukhtar’s Appeal [Dkt. #315]
16   from the Magistrate Judge’s February 13, 2013 Order Denying Defendant’s Second Motion for
17   Pretrial Release is hereby DENIED. The Magistrate Judge’s decision reflected in the February
18   13, 2013 Order [Dkt. #296] is hereby AFFIRMED.
19          DATED this 15th day of May, 2013.
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21                                                          ____________________________________
                                                            ANDREW P. GORDON
22                                                          UNITED STATES DISTRICT JUDGE

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